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                                  D Page 1 of 3




                      Exhibit D
Case 23-04510      Doc 20-5     Filed 10/13/23 Entered 10/13/23 17:58:15         DescAndrea
                                                                                      Exhibit
                                                                                            Lynn Chasteen
                                       D Page 2 of 3              Will County Circuit Clerk
                                                              Twelfth Judicial Circuit Court
                                                                        Electronically Filed
                                                                            2019L 001046
            IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                                                            Filed Date: 9/26/2023  7:36 PM
                                                                      Envelope: 24538973
                      WILL COUNTY, ILLINOIS, LAW DIVISION                         Clerk: PM

PRESENCE CENTRAL AND SUBURBAN             )
HOSPITALS NETWORK F/K/A PRESENCE          )
HOSPITALS PRV F/K/A PROVENA               )
HOSPITALS,                                )
                                          )
      Plaintiff,                          )
                                          )                Case No. 19 L 1046
      v.                                  )
                                          )                Hon. Bobbi N. Petrungaro
MIDWEST LEASING OF ILLINOIS, LLC,         )
JOLIET ONCOLOGY-HEMATOLOGY,               )
ASSOCIATES, LTD., and SARODE K.           )
PUNDALEEKA,                               )
                                          )
      Defendants.                         )
__________________________________________)


                                           ORDER

       Plaintiff Presence Central and Suburban Hospitals Network (“Presence”) and Defendants

Midwest Leasing of Illinois, LLC and Sarode K. Pundaleeka’s (“Midwest”) appeared through

counsel on September 26, 2023 for hearing on Presence’s Motion to Lift Stay and Confirm

Arbitration Award and Midwest’s Petition to Vacate Arbitration Award. The Court heard oral

argument from Presence and Midwest on the respective Motion and Petition and fully advised on

the premises and for the reasons stated on the record, IT IS HEREBY ORDERED:

       1.      Midwest’s Petition to Vacate Arbitration Award is DENIED as to Sarode K.

Pundaleeka. With respect to Midwest, Midwest’s Petition is entered and continued. The Court

directs the parties to address the automatic stay issue raised in Midwest’s Petition to Vacate

Arbitration Award with the bankruptcy court assigned to Midwest’s prior bankruptcy petition (In

re Midwest Leasing of Illinois, LLC, Case No. 23-04510 (Bankr. N.D. Ill.)).

       2.      Presence’s Motion to Confirm Arbitration Award is GRANTED as to Sarode K.


                                               1
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                                       D Page 3 of 3



Pundaleeka. With respect to Midwest, Presence’s Motion is entered and continued. The Court

directs the parties to address the automatic stay issue raised in Midwest’s Petition to Vacate

Arbitration Award with the bankruptcy court assigned to Midwest’s prior bankruptcy petition (In

re Midwest Leasing of Illinois, LLC, Case No. 23-04510 (Bankr. N.D. Ill.)).

       3.      The case is set for status on December 5, 2023 at 9:00 a.m. in Room 903 of the Will

County Courthouse, 100 W. Jefferson St., Joliet, IL 60432 or via Zoom video-conferencing

(Meeting ID: 9927 448 0487; Passcode: 117117).



DATED THIS ____ DAY OF September, 2023               9/26/2023 7:36 PM


                                     _____________________________

Prepared by:

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Attorney for Plaintiff




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